Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 1 of 12 PageID #: 9907




                        EXHIBIT F
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 2 of 12 PageID #: 9908
                                     111111 1111111111111111111111111111111111111111111111111111111111111
                                                                                                                                       US008355427B2


   (12)   United States Patent                                                                            (10)     Patent No.:     US 8,355,427 B2
          Tzannes                                                                                         (45)     Date of Patent:     *Jan. 15,2013

   (54)   SYSTEM AND METHOD FOR                                                                                    375/320,324,340; 370/281,295,343,480-481;
          DE SCRAMBLING THE PHASE OF CARRIERS                                                                                                        455173,91, 108
          IN A MULTICARRIER COMMUNICATIONS                                                                     See application file for complete search history.
          SYSTEM
                                                                                                     (56)                                References Cited
   (75)   Inventor:    Marcos C. Tzannes, Orinda, CA (US)
                                                                                                                              U.S. PATENT DOCUMENTS
   (73)   Assignee: TQ Delta, LLC, Austin, TX (US)
                                                                                                            3,898,566 A                    8/1975 Switzer et al.
   ( *)   Notice:      Subject to any disclaimer, the term of this                                                                            (Continued)
                       patent is extended or adjusted under 35
                       U.S.c. 154(b) by 0 days.                                                                         FOREIGN PATENT DOCUMENTS
                       This patent is subject to a terminal dis-                                     EP                           0584534                 3/1994
                       claimer.                                                                                                               (Continued)

   (21)   Appl. No.: 13/439,605                                                                                                   OTHER PUBLICATIONS
                                                                                                     Biiuml et aI., "Reducing The Peak-To-Average Power Ratio of
   (22)   Filed:       Apr. 4, 2012
                                                                                                     Multicarrier Modulation by Selected Mapping," Electronics Letters,
   (65)                   Prior Publication Data                                                     GB, IEE Stevenage, vol. 32(22), Oct. 24, 1996, pp. 2056-2057,
                                                                                                     XP000643915 ISSN: 0013-5194.
          US 2012/0195353 Al                 Aug. 2, 2012
                                                                                                                                              (Continued)
                    Related U.S. Application Data
                                                                                                     Primary Examiner - Lawrence B Williams
   (60)   Continuation of application No. 13/284,549, filed on                                       (74) Attorney, Agent, or Firm - Jason H. Vick; Sheridan
          Oct. 28, 2011, now Pat. No. 8,218,610, which is a                                          Ross, PC
          continuation of application No. 111860,080, filed on
          Sep. 24, 2007, now Pat. No. 8,073,041, which is a                                          (57)                                   ABSTRACT
          division of application No. 111211,535, filed on Aug.
          26, 2005, now Pat. No. 7,292,627, which is a                                               A system and method that demodulates the phase character-
          continuation of application No. 091710,310, filed on                                       istic of a carrier signal are described. The scrambling of the
          Nov. 9,2000, now Pat. No. 6,961,369.                                                       phase characteristic of each carrier signal includes associat-
                                                                                                     ing a value with each carrier signal and computing a phase
   (60)   Provisional application No. 601164,134, filed on Nov.                                      shift for each carrier signal based on the value associated with
          9,1999.                                                                                    that carrier signal. The value is determined independently of
                                                                                                     any input bit value carried by that carrier signal. The phase
   (51)   Int. Cl.                                                                                   shift computed for each carrier signal is combined with the
          H04B 1/38                (2006.01)                                                         phase characteristic of that carrier signal so as to substantially
          H04L 5/12                (2006.01)                                                         scramble the phase characteristic of the carrier signals. Bits of
          H04L 27/36               (2006.01)                                                         an input signal are modulated onto the carrier signals having
          H04L 27/06               (2006.01)                                                         the substantially scrambled phase characteristic to produce a
   (52)   U.S. Cl. ......... 3751222; 375/261; 375/298; 375/316                                      transmission signal with a reduced PAR.
   (58)   Field of Classification Search .................. 375/219,
                   375/220,222,259-261,267,298-299,316,                                                                       29 Claims, 2 Drawing Sheets


                                                                                                                             II



                                                 IL1
                                                    76 I       BAT         ~
                                                                                                                                                               34
                                                 74 \                       44
                                                                                                66
                                                                                                                                                          /1
                              -
                                   -t_~:~~~~I~!__
                                                              Q!M
                                                             Encoder            ~:: II    Phase      I
                                                                                         Scrambler           38
                                    /;/                \
                                                               ~                ~::                         1'1         f\                                      66'
                                                                                                                                        Receiver
                                   54                                     -78+           Modulator ~                                                      ;/
                                                                                                                                   I     Phase     /
                                                                                            ~                                          Descrambler
                                                                                                         7;\

                                             /                       26
                                            22                                                                                                                 30
                                                                   /1
                                        I
                                                              Receiver                                                                  Transmitter
                                                                                                                                                      r   ;/



                                                                                                                                         Remote
                                                                                                                   Ii
                                                                                                                  IV
                                                                                                                                       Transceiver
                                                                                                                                           1.9.
                                                           Transceiver    10.                                     18
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 3 of 12 PageID #: 9909


                                                        US 8,355,427 B2
                                                                 Page 2


                   u.s. PATENT DOCUMENTS                              Tellado et aI., "Revisiting DMT's Peak-to-Average Ratio," Antwerp,
                                                                      Apr. 20-24, 1998, pp. 1-14.
       3,955,141   A      511976   Lyon et al.
                                                                      Tellambura, "A coding technique for reducing peak-to-average
       4,069,392   A      111978   Goldenberg et al.
                                                                      power ratio in OFDM," in the Proceedings of Global Telecommuni-
       4,358,853   A     1111982   Qureshi
                                                                      cations Conference, IEEE, Nov. 1998, pp. 2783-2787.
       4,985,900   A      111991   Rhindetal.
       5,381,449   A      111995   Jasper et al.                      Tellambura, "Phase optimisation criterion for reducing peak-to-av-
       5,682,376   A *   1011997   Hayashino et al.       370/206     erage power ratio in OFDM," Electronics Letters, Jan. 1998, vol.
       5,694,395   A     1211997   Myeret al.                         34(2), pp. 169-170.
       5,748,677   A      511998   Kumar                              Van Eetvelt et al., "Peak to average power reduction for OFDM
       5,870,016   A      211999   Shrestha                           schemes by selective scrambling," Electronics Letters, Oct. 1996,
       5,937,010   A *    811999   Petranovich et al.     375/295     vol. 32(21), pp. 1963-1964.
       5,991,262   A     1111999   Laird et al.                       Invitation to Pay Additional Fees for International (PCT) Patent
       6,128,350   A     10/2000   Shastri et al.                     Application No. PCTIUSOO/30958, mailed Mar. 23, 2001.
       6,256,355   Bl     7/2001   Sakoda et al.                      Invitation to Restrict or to Pay Additional Fees for International
       6,366,555   Bl     4/2002   Gatherer et al.                    (PCT) Patent Application No. PCTIUSOO/30958, mailed Nov. 14,
       6,507,585   Bl     112003   Dobson                             2001.
       6,519,292   Bl     2/2003   Sakoda et al.                      Annex to Form PCT/ISAl206 for PCTIUSOO/30958, Mar. 23, 2001,
       6,590,860   Bl     7/2003   Sakoda et al.                      3 pages.
       6,704,317   Bl     3/2004   Dobson
                                                                      International Search Report for International (PCT) Patent Applica-
       6,757,299   Bl     6/2004   Verma
       6,961,369   Bl    1112005   Tzannes                            tion No. PCTIUSOO/30958, mailed Jun. 12, 2001.
       6,967,997   B2    1112005   Humphrey                           International Preliminary Examination Report for International
       7,257,168   B2     8/2007   Goldstein et al.                   (PCT) Patent Application No. PCTIUSOO/30958, completed Mar. 4,
       7,286,614   B2    10/2007   Goldstein et al.                   2002.
       7,292,627   B2    1112007   Tzannes                            Written Opinion for International (PCT) Patent Application No.
       7,471,721   B2    12/2008   Tzannes                            PCTIUSOO/30958, mailed Dec. 18,2001.
       7,610,028   B2    10/2009   Cimini, Jr. et al.                 Notification of Reasons for Refusal (including translation) for Japa-
       7,769,104   B2     812010   Tzannes                            nese Patent Application No. 2001-537217, date of dispatch, Mar. 3,
       8,073,041   Bl    12/2011   Tzannes                            200S.
       8,090,008   B2     112012   Tzannes                            Decision of Refusal (including translation) for Japanese Patent
   2005/0141410    Al     6/2005   Zhang et al.
                                                                      Application No. 2001-537217, date of dispatch, Nov. 4, 2008.
   2006/0092902    Al     5/2006   Schmidt
   2006/0140288    Al     6/2006   Holden                             Notice of Preliminary Rejection (translation only) for Korean Patent
   2010/0190507    Al     7/2010   Karabinis et al.                   Application No. 7005830/2002 dated Nov. 22, 2006.
   2012/0044977    Al     2/2012   Tzannes                            Official Action for U.S. Appl. No. 091710,310, mailed May 4, 2004.
   2012/0069878    Al     3/2012   Tzannes                            Notice of Allowance for U.S. Appl. No. 091710,310, mailed Jul. 5,
                                                                      2005.
              FOREIGN PATENT DOCUMENTS                                Notice of Allowance for U.S. Appl. No. 111211,535, mailed Sep. 6,
  EP              0719004            6/1996                           2007.
  GB              2330491            4/1999                           Notice of Allowance for U.S. Appl. No. 111860,080, mailed Oct. 17,
  JP           H08-321820           12/1996                           2011.
  JP           HIO-084329            3/1998                           Notice of Allowance for U.S. Appl. No. 13/284,549, mailed Mar. 20,
  WO          WO 98/32065            7/1998                           2012.
  WO          WO 99/22463            5/1999                           Official Action for U.S. Appl. No. 111863,581, mailed Feb. 6, 2008.
  WO          WO 99/29078            6/1999                           Notice of Allowance for U.S. Appl. No. 111863,581, mailed Oct. 8,
                    OTHER PUBLICATIONS                                200S.
                                                                      Official Action for U.S. Appl. No. 12/255,713, mailed Oct. 15,2009.
  Henkel, "Analog Codes for Peak-to-Average Ratio Reduction," in      Notice of Allowance for U.S. Appl. No. 12/255,713, mailed May 18,
  Proceedings 3rd ITG Conf. Source and Channel Coding, Munich,        2010.
  Germany, Jan. 2000, 5 pages.                                        Notice of Allowance for U.S. Appl. No. 121783,725, mailed Nov. 17,
  Narahashi et aI., "New phasing scheme of N multiple carriers for    2011.
  reducing peak-to-average power ratio," Electronics Letters, Aug.
  1994, vol. 30(17), pp. 1382-1383.                                   * cited by examiner
                Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 4 of 12 PageID #: 9910




                                                                                                                   2
                                                                                                                                                        ~
                                                                                                                                                        7Jl
                                                                                                                                                        •
                                                                                                                                                        ~



       ______lL_! ,
                                                                                                                                                        ~
                                    76      BAT          ---S~                                                                                          ~
                                                            44                                                                                          ~
                                 74 \
                                                         -58....
                                                                       /
                                                                           '
                                                                           {,
                                                                               66
                                                                                /
                                                                                                                                              /
                                                                                                                                            / v
                                                                                                                                                        =
                                                                                                                                                        ~

       I                             I     QAM
-   r- ~    Scrambler :                                             Phase
       ~ ___________ J                    Encoder        -58....
                                                                   Scrambler
                                                         -58....                                   38                                                   ~

       //2//                                 42          -58....                                 /1/        f\.         Receiver                   6'
                                                                                                                                                        ~


                                                                                                                                                        ....=
       54                                                -78....   Modulator \ I          I      I      I   I~'r                                        ~Ul

                                                                                    \\\\\'"
                                                                                          '\ "
                                                                                           "\                            Phase        ///
                                                                                                                                            r; <        N
                                                                                                                                                        o
                                                                                                                                                        ....
                                                                      46                                               Descrambler
                                                                                                                                                        (.H
                                                                                     70' 70
                             /
                     "   /


                 /il                                26                                                                                                  rFJ
                22                                                                                                                                 o     =-
                                                                                                                                                        ('D
                                                  /1/                                                                                                   ('D



                                            Receiver                            I
                                                                                                                        Transmitter
                                                                                                                                       -///t:            ....""""
                                                                                                                                                        o....
            I                                                                   I
                                                                                                                                                        N




                                                                                                                         Remote
                                                                                                                       Transceiver
                                                                                                                           11
                                         Transceiver 10                                              18
                                                                                                                                                        d
                                                                                                                                                        rJl
                                                                                                                                                        QO
                                                                                                                                                        W
                                                                                                                                                        tit
                                                                                                                                                        tit
                                                                                                                                                        ~
                                                                                    FIG. 1                                                              N
                                                                                                                                                        -....l

                                                                                                                                                        =
                                                                                                                                                        N
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 5 of 12 PageID #: 9911


  u.s. Patent             Jao.15,2013                   Sheet 2 of2                   US 8,355,427 B2




        STEP 100             GENERATE VALUE(S)




                       r------------ ------------
        STEP 110----1      COMMUNICATE VALUE(S)                                :
                     L       TO SYNCHRONIZE                                    :

                        ------------r------------
        STEP 115 - -        COMPUTE PHASE SHIFT




                          COMBINE PHASE SHIFT WITH
        STEP 120 -                                                             -+- -----,
                           PHASE CHARACTERISTIC                                         I
                                                                                        I
                                                                                        I
                                                                                        I



                        COMBINE CARRIER SIGNALS INTO
        STEP 130 -
                           A TRANSMISSION SIGNAL


                                               ~
                                              ," ,
                                   ,,,
                                         '"          -... -... -...
                                                                      ,
                              //                                          "r-----------I
                      / / DETECT CLIPPING '-..., YES I           TRANSMIT    I
            STEP 140-<., OF TRANSMISSION ,/--~ PREDEFINED :
                        -"",            SIGNAL             ", L___~I§!J~~___ J
                             '-... ,             ?      ,"              'STEP
                                     '-...           ,/                   150
                                           -... , -'


        STEP 160        TRANSMIT TRANSMISSION SIGNAL


                                         FIG. 2
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 6 of 12 PageID #: 9912


                                                        US 8,355,427 B2
                                 1                                                                       2
            SYSTEM AND METHOD FOR                                         aged value of the signal parameter. In DMT systems, the PAR
     DE SCRAMBLING THE PHASE OF CARRIERS                                  of the transmitted signal is determined by the probability of
      IN A MULTICARRIER COMMUNICATIONS                                    the random transmission signal reaching a certain peak volt-
                    SYSTEM                                                age during the time interval required for a certain number of
                                                                          symbols. An example of the PAR of a transmission signal
                   RELATED APPLICATION                                    transmitted from a DMT transmitter is 14.5 dB, which is
                                                                          equivalent to having a lE-7 probability of clipping. The PAR
     This application is a continuation of U.S. Application No.           of a transmission signal transmitted and received in a DMT
  13/284,549, filed Oct. 28, 2011, now U.S. Pat. No. 8,218,610,           communication system is an important consideration in the
  which is a continuation ofSer. No. 111860,080, filed Sep. 24,      10   design of the DMT communication system because the PAR
  2007, now U.S. Pat. No. 8,073,041, which is a divisional of             of a signal affects the communication system's total power
  U.S. application Ser. No. 111211,535, filed Aug. 26, 2005,              consumption and component linearity requirements of the
  now U.S. Pat. No. 7,292,627, which is a continuation of U.S.            system.
  application Ser. No. 091710,310, filed on Nov. 9, 2000, now                If the phase of the modulated carriers is not random, then
  U.S. Pat. No. 6,961,369, which claims the benefit of the filing    15   the PAR can increase greatly. Examples of cases where the
  date of copending U.S. Provisional Application Ser. No.                 phases of the modulated carrier signals are not random are
  601164,134, filed Nov. 9,1999, entitled "A Method For Ran-              when bit scramblers are not used, multiple carrier signals are
  domizing The Phase Of The Carriers InA Multicarrier Com-                used to modulate the same input data bits, and the constella-
  munications System To Reduce The Peak To Average Power                  tion maps, which are mappings of input data bits to the phase
  Ratio Of The Transmitted Signal," each which are incorpo-          20   of a carrier signal, used for modulation are not random
  rated by reference herein in their entirety.                            enough (i.e., a zero value for a data bit corresponds to a 90
                                                                          degree phase characteristic of the DMT carrier signal and a
                 FIELD OF THE INVENTION                                   one value for a data bit corresponds to a -90 degree phase
                                                                          characteristic of the DMT carrier signal). An increased PAR
     This invention relates to communications systems using          25   can result in a system with high power consumption and/or
  multicarrier modulation. More particularly, the invention               with high probability of clipping the transmission signal.
  relates to multicarrier communications systems that lower the           Thus, there remains a need for a system and method that can
  peak-to-average power ratio (PAR) of transmitted signals.               effectively scramble the phase of the modulated carrier sig-
                                                                          nals in order to provide a low PAR for the transmission signal.
            BACKGROUND OF THE INVENTION                              30
                                                                                      SUMMARY OF THE INVENTION
     In a conventional multicarrier communications system,
  transmitters communicate over a communication channel                      The present invention features a system and method that
  using multicarrier modulation or Discrete Multitone Modu-               scrambles the phase characteristics of the modulated carrier
  lation (DMT). Carrier signals (carriers) or sub-channels           35   signals in a transmission signal. In one aspect, a value is
  spaced within a usable frequency band of the communication              associated with each carrier signal. A phase shift is computed
  channel are modulated at a symbol (i.e., block) transmission            for each carrier signal based on the value associated with that
  rate of the system. An input signal, which includes input data          carrier signal. The value is determined independently of any
  bits, is sent to a DMT transmitter, such as a DMT modem. The            input bit value carried by that carrier signal. The phase shift
  DMT transmitter typically modulates the phase characteris-         40   computed for each carrier signal is combined with the phase
  tic, or phase, and amplitude of the carrier signals using an            characteristic of that carrier signal to substantially scramble
  Inverse Fast Fourier Transform (IFFT) to generate a time                the phase characteristics of the carrier signals.
  domain signal, or transmission signal, that represents the                 In one embodiment, the input bit stream is modulated onto
  input signal. The DMT transmitter transmits the transmission            the carrier signals having the substantially scrambled phase
  signal, which is a linear combination of the multiple carriers,    45   characteristic to produce a transmission signal with a reduced
  to a DMT receiver over the communication channel.                       peak-to-average power ratio (PAR). The value is derived from
     The phase and amplitude of the carrier signals of DMT                a predetermined parameter, such as a random number gen-
  transmission signal can be considered random because the                erator, a carrier number, a DMT symbol count, a superframe
  phase and amplitude result from the modulation of an arbi-              count, and a hyperframe count. In another embodiment, a
  trary sequence of input data bits comprising the transmitted       50   predetermined transmission signal is transmitted when the
  information. Therefore, under the condition that the modu-              amplitude of the transmission signal exceeds a certain level.
  lated data bit stream is random, the DMT transmission signal               In another aspect, the invention features a method wherein
  can be approximated as having a Gaussian probability distri-            a value is associated with each carrier signal. The value is
  bution. A bit scrambler is often used in the DMT transmitter            determined independently of any input bit value carried by
  to scramble the input data bits before the bits are modulated to   55   that carrier signal. A phase shift for each carrier signal is
  assure that the transmitted data bits are random and, conse-            computed based on the value associated with that carrier
  quently, that the modulation of those bits produces a DMT               signal. The transmission signal is demodulated using the
  transmission signal with a Gaussian probability distribution.           phase shift computed for each carrier signal.
     With an appropriate allocation of transmit power levels to              In another aspect, the invention features a system compris-
  the carriers or sub-channels, such a system provides a desir-      60   ing a phase scrambler that computes a phase shift for each
  able performance. Further, generating a transmission signal             carrier signal based on a value associated with that carrier
  with a Gaussian probability distribution is important in order          signal. The phase scrambler also combines the phase shift
  to transmit a transmission signal with a low peak-to-average            computed for each carrier signal with the phase characteristic
  ratio (PAR), or peak-to-average power ratio. The PAR of a               of that carrier signal to substantially scramble the phase char-
  transmission signal is the ratio of the instantaneous peak         65   acteristic of the carrier signals. In one embodiment, a modu-
  value (i.e., maximum magnitude) of a signal parameter (e.g.,            lator, in communication with the phase scrambler, modulates
  voltage, current, phase, frequency, power) to the time-aver-            bits of an input signal onto the carrier signals having the
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 7 of 12 PageID #: 9913


                                                        US 8,355,427 B2
                                 3                                                                        4
  substantially scrambled phase characteristics to produce a              QAM encoder 42 maps the input serial data bit stream 54 into
  transmission signal with a reduced PAR.                                 N parallel quadrature amplitude modulation (QAM) constel-
                                                                          lation points 58, or QAM symbols 58, where N represents the
             DESCRIPTION OF THE DRAWINGS                                  number of carrier signals generated by the modulator 46. The
                                                                          BAT 44 is in communication with the QAM encoder 42 to
     The invention is pointed out with particularity in the               specifY the number of bits carried by each carrier signal. The
  appended claims. The advantages of the invention described              QAM symbols 58 represent the amplitude and the phase
  above, as well as further advantages of the invention, may be           characteristic of each carrier signal.
  better understood by reference to the following description                The modulator 46 provides functionality associated with
  taken in conjunction with the accompanying drawings, in            10   the DMT modulation and transforms the QAM symbols 58
  which:                                                                  into DMT symbols 70 each comprised of a plurality of time-
     FIG. 1 is a block diagram of an embodiment of a digital              domain samples. The modulator 46 modulates each carrier
  subscriber line communications system including a DMT                   signal with a different QAM symbol 58. As a result of this
  (discrete multitone modulation) transceiver, in communica-              modulation, carrier signals have phase and amplitude char-
  tion with a remote transceiver, having a phase scrambler for       15   acteristics based on the QAM symbol 58 and therefore based
  substantially scrambling the phase characteristics of carrier           on the input-bit stream 54. In particular, the modulator 46
  signals; and                                                            uses an inverse fast Fourier transform (IFFT) to change the
     FIG. 2 is a flow diagram of an embodiment of a process for           QAM symbols 58 into a transmission signal 38 comprised of
  scrambling the phase characteristics of the carrier signals in a        a sequence of DMT symbols 70. The modulator 46 changes
  transmission signal.                                               20   the QAM symbols 58 into DMT symbols 70 through modu-
                                                                          lation of the carrier signals. In another embodiment, the
                  DETAILED DESCRIPTION                                    modulator 46 uses the inverse discrete Fourier transform
                                                                          (IDFT) to change the QAM symbols 58 into DMT symbols
     FIG. 1 shows a digital subscriber line (DSL) communica-              70. In one embodiment, a pilot tone is included in the trans-
  tion system 2 including a discrete multitone (DMT) trans-          25   mission signal 38 to provide a reference signal for coherent
  ceiver 10 in communication with a remote transceiver 14 over            demodulation of the carrier signals in the remote receiver 34
  a communication chaunel18 using a transmission signal 38                during reception of the transmission signal 38.
  having a plurality of carrier signals. The DMT transceiver 10              The modulator 46 also includes a phase scrambler 66 that
  includes a DMT transmitter 22 and a DMT receiver 26. The                combines a phase shift computed for each QAM-modulated
  remote transceiver 14 includes a transmitter 30 and a receiver     30   carrier signal with the phase characteristic of that carrier
  34. Although described with respect to discrete multitone               signal. Combining phase shifts with phase characteristics, in
  modulation, the principles of the invention apply also to other         accordance with the principles of the invention, substantially
  types of multi carrier modulation, such as, but not limited to,         scrambles the phase characteristics of the carrier signals in
  orthogonally multiplexed quadrature amplitude modulation                the transmission signal 38. By scrambling the phase charac-
  (OQAM), discrete wavelet multitone (DWMT) modulation,              35   teristics of the carrier signals, the resulting transmission sig-
  and orthogonal frequency division multiplexing (OFDM).                  nal 38 has a substantially minimized peak-to-average (PAR)
     The communication charmel 18 provides a downstream                   power ratio. The phase scrambler 66 can be part of or external
  transmission path from the DMT transmitter 22 to the remote             to the modulator 46. Other embodiments of the phase scram-
  receiver 34, and an upstream transmission path from the                 bler 66 include, but are not limited to, a software program that
  remote transmitter 3 0 to the D MT receiver 26. In one embodi-     40   is stored in local memory and is executed on the modulator
  ment' the communication charmel18 is a pair of twisted wires            46, a digital signal processor (DSP) capable of performing
  of a telephone subscriber line. In other embodiments, the               mathematical functions and algorithms, and the like. The
  communication chaunel18 can be a fiber optic wire, a quad               remote receiver 34 similarly includes a phase descrambler 66'
  cable, consisting of two pairs of twisted wires, or a quad cable        for use when demodulating carrier signals that have had their
  that is one of a star quad cable, a Dieselhorst-Martin quad        45   phase characteristics adjusted by the phase scrambler 66 of
  cable, and the like. In a wireless communication system                 the DMT transceiver 10.
  wherein the transceivers 10, 14 are wireless modems, the                   To compute a phase shift for each carrier signal, the phase
  communication channel 18 is the air through which the trans-            scrambler 66 associates one or more values with that carrier
  mission signal 38 travels between the transceivers 10, 14.              signal. The phase scrambler 66 determines each value for a
     By way of example, the DMT transmitter 22 shown in FIG.         50   carrier signal independently of the QAM symbols 58, and,
  1 includes a quadrature amplitude modulation (QAM)                      therefore, independently of the bit value(s) modulated onto
  encoder 42, a modulator 46, a bit allocation table (BAT) 44,            the carrier signal. The actual value(s) thatthe phase scrambler
  and a phase scrambler 66. The DMT transmitter 22 can also               66 associates with each carrier signal can be derived from one
  include a bit scrambler 74, as described further below. The             or more predefined parameters, such as a pseudo-random
  remote transmitter 30 of the remote transceiver 14 comprises       55   number generator (pseudo-RNG), a DMT carrier number, a
  equivalent components as the DMT transmitter 22. Although               DMT symbol count, a DMT superframe count, a DMT hyper-
  this embodiment specifies a detailed description of the DMT             frame count, and the like, as described in more detail below.
  transmitter 22, the inventive concepts apply also to the receiv-        Irrespective of the technique used to produce each value, the
  ers 34, 26 which have similar components to that of the DMT             same technique is used by the DMT transmitter 22 and the
  transmitter 22, but perform inverse functions in a reverse         60   remote receiver 34 so that the value associated with a given
  order.                                                                  carrier signal is known at both ends of the communication
     The QAM encoder 42 has a single input for receiving an               channel 18.
  input serial data bit stream 54 and multiple parallel outputs to           The phase scrambler 66 then solves a predetermined equa-
  transmit QAM symbols 58 generated by the QAM encoder 42                 tion to compute a phase shift for the carrier signal, using the
  from the bit stream 54. In general, the QAM encoder 42 maps        65   value( s) associated with that carrier signal as input that effects
  the input serial bit-stream 54 in the time domain into parallel         the output of the equation. Any equation suitable for comput-
  QAM symbols 58 in the frequency domain. In particular, the              ing phase shifts can be used to compute the phase shifts.
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 8 of 12 PageID #: 9914


                                                         US 8,355,427 B2
                                  5                                                                       6
  When the equation is independent of the bit values of the                 increments by one every 69 DMT symbols. One exemplary
  input serial bit stream 54, the computed phase shifts are also            implementation that achieves the superframe counter is to
  independent of such bit values.                                           perform a modulo 68 operation on the symbol count. As
     In one embodiment (shown in phantom), the DMT trans-                   another example, the DMT transmitter 22 can maintain a
  mitter 22 includes a bit scrambler 74, which receives the input           hyperframe counter for counting hyperframes. An exemplary
  serial bit stream 54 and outputs data bits 76 that are substan-           implementation of the hyperframe count is to perform a
  tially scrambled. The substantially scrambled bits 76 are then            modulo 255 operation on the superframe count. Thus, the
  passed to the QAM encoder 42. When the bit scrambler 74 is                hyperframe count increments by one each time the super-
  included in the DMT transmitter 22, the operation of the                  frame count reaches 255.
  phase scrambler 66 further assures that the transmission sig-        10
                                                                               Accordingly, it is seen that some predefined parameters
  nal 38 has a Gaussian probability distribution and, therefore,
                                                                            produce values that vary from carrier signal to carrier signal.
  a substantially minimized PAR.
                                                                            For example, when the predefined parameter is the DMT
     FIG. 2 shows embodiments of a process used by the DMT
  transmitter 22 for adjusting the phase characteristic of each             carrier number, values vary based on the frequency of the
  carrier signal and combining these carrier signals to produce        15
                                                                            carrier signal. As another example, the pseudo-RNG gener-
  the transmission signal 38. The D MT transmitter 22 generates             ates a new random value for each carrier signal.
  (step 100) a value that is associated with a carrier signal.                 Other predefined parameters produce values that vary from
  Because the value is being used to alter the phase character-             DMT symbol 70 to DMT symbol 70. For example, when the
  istics of the carrier signal, both the DMT transmitter 22 and             predefined parameter is the symbol count, the superframe
  the remote receiver 34 must recognize the value as being             20   count, or hyperframe count, values vary based on the numeri-
  associated with the carrier signal. Either the DMT transmitter            cal position of the DMT symbol 70 within a sequence of
  22 and the remote receiver 34 independently derive the asso-              symbols, superframes, or hyperframes. Predefined param-
  ciated value, or one informs the other of the associated value.           eters such as the pseudo-RNG, symbol count, superframe
  For example, in one embodiment the DMT transmitter 22 can                 count, and superframe can also be understood to be param-
  derive the value from a pseudo-RNG and then transmit the             25   eters that vary values over time. Anyone or combination of
  generated value to the remote receiver 34. In another embodi-             the predefined parameters can provide values for input to the
  ment' the remote receiver 34 similarly derives the value from             equation that computes a phase shift for a given carrier signal.
  the same pseudo-RNG and the same seed as used by the                         In one embodiment, the phase scrambling is used to avoid
  transmitter (i.e., the transmitter pseudo-RNG produces the                clipping of the transmission signal 38 on a DMT symbol 70
  same series of random numbers as thereceiverpseudo-RNG).             30
                                                                            by DMT symbol 70 basis. In this embodiment, the DMT
     As another example, the DMT transmitter 22 and the
                                                                            transmitter 22 uses a value based on a predefined parameter
  remote receiver 34 can each maintain a symbol counter for
                                                                            that varies over time, such as the symbol count, to compute
  counting DMT symbols. The DMT transmitter 22 increments
                                                                            the phase shift. It is to be understood that other types of
  its symbol counter upon transmitting a DMT symbol; the
  remote receiver 34 upon receipt. Thus, when the DMT trans-           35
                                                                            predefined parameters that vary the values associated with
  mitter 22 and the remote receiver 34 both use the symbol                  carrier signals can be used to practice the principles of the
  count as a value for computing phase shifts, both the DMT                 invention. As described above, the transceivers 10, 14 may
  transmitter 22 and remote receiver 34 "know" that the value is            communicate (step 11 0) the values to synchronize their use in
  associated with a particular DMT symbol and with each car-                modulating and demodulating the carrier signals.
  rier signal of that DMT symbol.                                      40      The DMT transmitter 22 then computes (step 115) the
     Values can also be derived from other types of predefined              phase shift that is used to adjust the phase characteristic of
  parameters. For example, if the predefined parameter is the               each carrier signal. The amount of the phase shift combined
  DMT carrier number, then the value associated with a par-                 with the phase characteristic of each QAM -modulated carrier
  ticular carrier signal is the carrier number of that signal within        signal depends upon the equation used and the one or more
  the DMT symbol. The number of a carrier signal represents            45   values associated with that carrier signal.
  the location of the frequency of the carrier signal relative to              The DMT transmitter 22 then combines (step 120) the
  the frequency of other carrier signals within a DMT symbol.               phase shift computed for each carrier signal with the phase
  For example, in one embodiment the DSL communication                      characteristic of that carrier signal. By scrambling the phase
  system 2 provides 256 carrier signals, each separated by a                characteristics of the carrier signals, the phase scrambler 66
  frequency of 4.3125 kHz and spauning the frequency band-             50
                                                                            reduces (with respect to unscrambled phase characteristics)
  width from 0 kHz to 1104 kHz. The DMT transmitter 22                      the combined PAR of the plurality of carrier signals and,
  numbers the carrier signals from 0 to 255. Therefore, "DMT
                                                                            consequently, the transmission signal 38. The following three
  carrier number 50" represents the 51st DMT carrier signal                 phase shifting examples, PS #1-PS #3, illustrate methods
  which is located at the frequency of 215.625 kHz (i.e.,                   used by the phase scrambler 66 to combine a computed phase
  51x4.3125 kHz).                                                      55   shift to the phase characteristic of each carrier signal.
     Again, the DMT transmitter 22 and the remote receiver 34
  can know the value that is associated with the carrier signal                          PHASE SHIFTING EXAMPLE #1
  because both the DMT transmitter 22 and the remote receiver
  34 use the same predefined parameter (here, the DMT carrier                  Phase shifting example #1 (PS #1) corresponds to adjust-
  number) to make the value-carrier signal association. In other       60   ing the phase characteristic of the QAM-modulated carrier
  embodiments (as exemplified above with the transmitter                    signal associated with a carrier number N by
  pseudo-RNG), the DMTtransmitter22 can transmit the value
  to the remote receiver 34 (or vice versa) over the communi-
  cation channel 18.                                                                                          7r
                                                                                                         Nx-
     In other embodiments, other predefined parameters can be          65                                     3,
  used in conjunction with the symbol count. One example of
  such a predefined parameter is the superframe count that
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 9 of 12 PageID #: 9915


                                                           US 8,355,427 B2
                                         7                                                                      8
  modulo (mod) 2n. In this example, a carrier signal having a
  carrier number N equal to 50 has a phase shift added to the
  phase characteristic of that carrier signal equal to

                                                                            (Note that 9 is the 5th value in XN.) The carrier signal with a
                              Jr                  2
                         sax 3 (mod2Jr) =         3Jr·                      carrier number N equal to 6 has a phase shift added to the
                                                                            phase characteristic of the carrier signal equal to

  The carrier signal with a carrier number N equal to 51 has a         10
                                                                                                           Jr          5Jr
  phase shift added to the phase characteristic of that carrier                                    (5) x   "6 (mod2n) = (5'
  signal equal to

                                                                               It is to be understood that additional and/or different phase
                               Jr                                      15   shifting techniques can be used by the phase scrambler 66,
                          51 x 3 (mod2n) = Jr.
                                                                            and that PS #1, #2, and #3 are merely illustrative examples of
                                                                            the principles of the invention. The DMT transmitter 22 then
  The carrier signal with the carrier number N equal to 0 has no            combines (step 130) the carrier signals to form the transmis-
                                                                            sion signal 38. If the transmission signal is not clipped, as
  phase shift added to the phase characteristic of that carrier
                                                                       20   described below, the DMT transmitter 22 consequently trans-
  signal.
                                                                            mits (step 160) the transmission signal 38 to the remote
                                                                            receiver 34.
               PHASE SHIFTING EXAMPLE #2                                    Clipping of Transmission Signals
                                                                               A transmission signal 38 that has high peak values of
     Phase shifting example #2 (PS #2) corresponds to adjust-          25   voltage (i.e., a high PAR) can induce non-linear distortion in
  ing the phase characteristic of the QAM-modulated carrier                 the DMT transmitter 22 and the communication chaunel18.
  signal associated with a carrier number N by                              One form of this non-linear distortion of the transmission
                                                                            signal 38 that may occur is the limitation of the amplitude of
                                                                            the transmission signal 38 (i.e., clipping). For example, a
                                             Jr                        30   particular DMT symbol 70 clips in the time domain when one
                             (N+M)X
                                             4,                             or more time domain samples in that DMT symbol 70 are
                                                                            larger than the maximum allowed digital value for the DMT
                                                                            symbols 70. In multicarrier communication systems when
  mod 2n, where M is the symbol count. In this example, a                   clipping occurs, the transmission signal 38 does not accu-
  carrier signal having a carrier number N equal to 50 on DMT          35   rately represent the input serial data bit signal 54.
  symbol count M equal to 8 has a phase shift added to the phase               In one embodiment, the DSL communication system 2
  characteristic of that carrier signal equal to                            avoids the clipping of the transmission signal 38 on a DMT
                                                                            symbol 70 by DMT symbol 70 basis. The DMT transmitter 22
                                                                            detects (step 140) the clipping of the transmission signal 38.
                                    Jr               Jr                40   If a particular DMT symbol 70 clips in the time domain to
                       (50 + 8) x   4(mod2n) = 2'
                                                                            produce a clipped transmission signal 38, the DMT transmit-
                                                                            ter 22 substitutes (step 150) a predefined transmission signal
  The carrier signal with the same carrier number N equal to 50             78 for the clipped transmission signal 38.
  on the next DMT symbol count M equal to 9 has a phase shift                  The predefined transmission signal 78 has the same dura-
  added to the phase characteristic of that carrier signal equal to    45   tion as a DMT symbol 70 (e.g., 250 ms) in order to maintain
                                                                            symbol timing between the DMT transmitter 22 and the
                                                                            remote receiver 34. The predefined transmission signal 78 is
                                    Jr               3Jr                    not based on (i.e., independent of) the modulated input data
                       (50 + 9)x    4(mod2Jr) = 4'                          bit stream 54; it is a bit value pattern that is recognized by the
                                                                       50   remote receiver 34 as a substituted signal. In one embodi-
                                                                            ment, the predefined transmission signal 78 is a known
                                                                            pseudo-random sequence pattern that is easily detected by the
               PHASE SHIFTING EXAMPLE #3                                    remote receiver 34. In another embodiment, the predefined
                                                                            transmission signal 78 is an "all zeros" signal, which is a zero
                                                                       55   voltage signal produced at the DMT transmitter 22 output
     Phase shifting example #3 (PS #3) corresponds to adjust-
                                                                            (i.e., zero volts modulated on all the carrier signals). In addi-
  ing the phase characteristic of the QAM-modulated carrier
                                                                            tion to easy detection by the remote receiver 34, the zero
  signal associated with a carrier number N by
                                                                            voltage signal reduces the power consumption of the DMT
                                                                            transmitter 22 when delivered by the DMT transmitter 22.
                                                                       60   Further, a pilot tone is included in the predefined transmission
                                                                            signal 78 to provide a reference signal for coherent demodu-
                                                                            lation of the carrier signals in the remote receiver 34 during
                                                                            reception of the predefined transmission signal 78.
  where XN is an array of N pseudo-random numbers. In this                     After the remote receiver 34 receives the transmission sig-
  example, a carrier signal having a carrier number N equal to         65   na138, the remote receiver 34 determines if the transmission
  5 andXN equal to [3, 8,1,4,9,5, ... J has a phase shift added             signal 38 is equivalent to the predefined transmission signal
  to the phase characteristic of the carrier signal that is equal to        78. In one embodiment, when the remote receiver 34 identi-
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 10 of 12 PageID #: 9916


                                                        US 8,355,427 B2
                                  9                                                                    10
   fies the predefined transmission signal 78, the remote receiver        thereby causing a different set of time domain samples to be
   34 ignores (i.e., discards) the predefined transmission signal         generated for the subsequent DMT symbol 70', although the
   78.                                                                    QAM symbols 58 used to produce both DMT symbols 70, 70'
      Following the transmission of the predefined transmission           are the same.
   signal 78, the phase scrambler 66 shifts (step 120) the phase     5       If this different set of time domain samples (and conse-
   characteristic of the QAM-modulated carrier signals (based             quently the transmission signal 38) is not clipped, the DMT
   on one of the predefined parameters that varies over time). For        transmitter 22 sends the transmission signal 38. If one of the
   example, consider that a set of QAM symbols 58 produces a              time domain samples in the different set of time domain
   DMT symbol 70 comprising a plurality of time domain                    samples 70 (and consequently the transmission signal 38) is
                                                                          clipped, then the DMT transmitter 22 sends the predefined
   samples, and that one of the time domain samples is larger        10
                                                                          transmission signal 78 again. The process continues until a
   than the maximum allowed digital value for the DMT symbol
                                                                          DMT symbol 70 is produced without a time domain sample
   70. Therefore, because the transmission signal 38 would be
                                                                          70 that is clipped. In one embodiment, the transmitter 22 stops
   clipped when sent to the remote receiver 34, the DMT trans-            attempting to produce a non-clipped DMT symbol 70' for the
   mitter 22 sends the predefined transmission signal 78 instead.    15
                                                                          particular set of QAM symbols 58 after generating a prede-
      After transmission of the predefined transmission signal            termined number of clipped DMT symbols 70'. At that
   78, the DMT transmitter 22 again attempts to send the same             moment, the transmitter 22 can transmit the most recently
   bit values that produced the clipped transmission signal 38 in         produced clipped DMT symbol 70' or the predetermined
   a subsequent DMT symbol 70'. Because the generation of                 transmission signal 78.
   phase shifts in this embodiment is based on values that vary      20      The PAR of the DSL communication system 2 is reduced
   over time, the phase shifts computed for the subsequent D MT           because the predefined transmission signal 78 is sent instead
   symbol 70' are different than those that were previously com-          of the transmission signal 38 when the DMT symbol 70 clips.
   puted for the DMT symbol 70 with the clipped time domain               For example, a DMT communication system 2 that normally
   sample. These different phase shifts are combined to the               has a clipping probability of 10-7 for the time domain trans-
   phase characteristics of the modulated carrier signals to pro-    25   mission signal 38 can therefore operate with a 10-5 probabil-
   duce carrier signals of the subsequent DMT symbol 70' with             ityofclippingandalowerPARequal to 12.8 dB (as compared
   different phase characteristics than the carrier signals of the        to 14.5 dB). When operating at a 10-5 probability of clipping,
   DMT symbol 70 with the clipped time domain sample.                     assuming a DMT symbol 70 has 512 time-domain samples
      DMT communication systems 2 infrequently produce                    70, the DMT transmitter 22 experiences one clipped DMT
   transmission signals 38 that clip (e.g., approximately one clip   30   symbol 70 out of every
   every 107 time domain samples 70). However, if the subse-
   quent DMT symbol 70' includes a time domain sample that
   clips, then the predefined transmission signal 78 is again
   transmitted (step 150) to the remote receiver 34 instead of the
   clipped transmission signal 38. The clipping time domain          35
   sample may be on the same or on a different carrier signal than
   the previously clipped DMT symbol 70. The DMT transmit-                or 195 DMT symbols 70. This results in the predefined (non-
   ter 22 repeats the transmission of the predefined transmission         data carrying) transmission signal 78 being transmitted, on
   signal 78 until the DMT transmitter 22 produces a subsequent           average, once every 195 DMT symbols. Although increasing
                                                                          the probability of clipping to 10- 5 results in approximately a
   DMT symbol 70' that is not clipped. When the DMT trans-           40
   mitter 22 produces a DMT symbol 70' that is not clipped, the           0.5% (11195) decrease in throughput, the PAR of the trans-
   DTM transmitter 22 transmits (step 160) the transmission               mission signal 38 is reduced by 1.7 dB, which reduces trans-
   signal 38 to the remote receiver 34. The probability of a DMT          mitter complexity in the form of power consumption and
   symbol 70 producing a transmission signal 38 that clips in the         component linearity.
   time domain depends on the PAR of the transmission signal         45
                                                                             While the invention has been shown and described with
   38.                                                                    reference to specific preferred embodiments, it should be
      For example, the following phase shifting example, PST              understood by those skilled in the art that various changes in
   #4, illustrates the method used by the phase scrambler 66 to           form and detail may be made therein without departing from
   combine a different phase shift to the phase characteristic of         the spirit and scope of the invention as defined by the follow-
   each carrier signal to avoid the clipping of the transmission     50   ing claims. For example, although the specification uses DSL
   signal 38.                                                             to describe the invention, it is to be understood that various
                                                                          form ofDSL can be used, e.g., ADSL, VDSL, SDSL, HDSL,
               PHASE SHIFTING EXAMPLE #4                                  HDSL2, or SHDSL. It is also to be understood that the prin-
                                                                          ciples of the invention apply to various types of applications
      Phase shifting example #4 (PS #4) corresponds to adjust-       55   transported over DSL systems (e.g., telecommuting, video
   ing the phase characteristic of the carrier signal associated          conferencing, high speed Internet access, video-on demand).
   with a carrier number N by                                                What is claimed:
                                                                             1. A method, in a first transceiver that uses a plurality of
                                                                          carrier signals for receiving a bit stream that was transmitted
                             7r
                             3" x(M +N),                             60   by a second transceiver, wherein each carrier signal has a
                                                                          phase characteristic associated with the bit stream, compris-
                                                                          ing:
   mod 2Jt, where M is the DMT symbol count. In this example,                receiving the bit stream from the second transceiver,
   if the DMT symbol 70 clips when the DMT symbol count M                       wherein:
   equals 5, the predefined transmission signal 78 is transmitted    65         each carrier signal is associated with a value determined
   instead of the current clipped transmission signal 38. On the                  independently of any bit value of the bit stream car-
   following DMT symbol period, the DMT count M equals 6,                         ried by that respective carrier signal, the value asso-
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 11 of 12 PageID #: 9917


                                                          US 8,355,427 B2
                                 11                                                                     12
            ciated with each carrier signal detennined by a                  multiple carrier signals corresponding to the plurality of
            pseudo-random number generator,                                     phase shifted and scrambled carrier signals are used by
         a phase shift for each carrier signal is at least based on:            the first transceiver to demodulate a same bit value of the
            the value associated with that carrier signal, and                  received bit stream; and
            the combining of a phase for each carrier signal with            wherein:
               the phase characteristic of that respective carrier              the first and second transceivers communicate over one
               signal so as to substantially scramble the phase                    or more of a pair of twisted wires of a telephone
               characteristics of the plurality of carrier signals,                subscriber line, fiber optic and wireless, and
               and                                                              the first and second transceivers transport one or more
         multiple carrier signals corresponding to the plurality of 10             applications.
            phase shifted and scrambled carrier signals are used             15. The system of claim 14, wherein the first transceiver is
            by the first transceiver to demodulate a same bit value       a cable transceiver.
            of the received bit stream; and                                  16. The system of claim 14, wherein the first transceiver is
         wherein:                                                      15 VDSL transceiver.
            the first and second transceivers communicate over               17. The system of claim 14, wherein the first and second
               one or more ofa pair of twisted wires ofa telephone        transceivers are multi carrier DSL transceivers.
               subscriber line, fiber optic and wireless, and                18. The system of claim 14, wherein the first and second
            the first and second transceivers transport one or more       transceivers are used for high speed interne access.
               applications.                                           20    19. The system of claim 14, further comprising the second
      2. The method of claim 1, wherein the first transceiver is a        transceiver independently deriving the values associated with
   cable transceiver.                                                     each carrier using a second pseudo-random number generator
      3. The method of claim 1, wherein the first transceiver is          in the second transceiver.
   VDSL transceiver.                                                         20. The system of claim 19, wherein the first and second
      4. The method of claim 1, wherein the first and second 25 transceivers use a same seed for the pseudo-random number
   transceivers are multi carrier DSL transceivers.                       generator.
      5. The method of claim 1, wherein the first and second                 21. The system of claim 19, wherein the first and second
   transceivers are used for high speed internet access.                  transceivers are wireless transceivers.
      6. The method of claim 1, further comprising, in the second            22. The system of claim 19, wherein the first and second
   transceiver, independently deriving the values associated 30 transceivers are cable transceivers.
   with each carrier using a second pseudo-random number                     23. The system of claim 19, wherein the first and second
   generator in the second transceiver.                                   transceivers are DSL transceivers connected using a pair of
      7. The method of claim 6, wherein the first and second              twisted wires of a telephone subscriber system.
   transceivers use a same seed for the pseudo-random number                 24. The system of claim 23, wherein the first and second
   generator.                                                          35 transceivers are VDSL transceivers.
      8. The method of claim 6, wherein the first and second                 25. The system of claim 19, wherein the first and second
   transceivers are wireless transceivers.                                transceivers are multi carrier DSL transceivers.
      9. The method of claim 6, wherein the first and second                 26. The system of claim 19, wherein the first and second
   transceivers are cable transceivers.                                   transceivers are also used for high speed internet access.
      10. The method of claim 6, wherein the first and second 40             27. The method of claim 14, wherein the first and second
   transceivers are DSL transceivers counected using a pair of            transceivers each include a digital signal processor.
   twisted wires of a telephone subscriber system.                           28. The method of claim 1, wherein the first and second
      11. The method of claim 10, wherein the first and second            transceivers each include a digital signal processor.
   transceivers are VDSL transceivers.                                       29. A method, in a first transceiver that uses a plurality of
      12. The method of claim 6, wherein the first and second 45 carrier signals for receiving a bit stream that was transmitted
   transceivers are multi carrier DSL transceivers.                       by a second transceiver, wherein each carrier signal has a
      13. The method of claim 6, wherein the first and second             phase characteristic associated with the bit stream, the
   transceivers are also used for transport high speed internet           method comprising:
   access.                                                                   receiving the bit stream from the second transceiver,
      14. A communication system including a first transceiver 50               wherein:
   that uses a plurality of carrier signals for receiving a bit stream          each carrier signal is associated with a value determined
   that was transmitted by a second transceiver, wherein each                      independently of any bit value of the bit stream car-
   carrier signal has a phase characteristic associated with the bit               ried by that respective carrier signal, the value asso-
   stream, the transceiver capable of receiving from the second                    ciated with each carrier signal detennined by a
   transceiver the bit stream, wherein:                                55          pseudo-random number generator,
      each carrier signal is associated with a value determined                 a phase shift for each carrier signal is at least based on:
         independently of any bit value of the bit stream carried                  the value associated with that carrier signal, and
         by that respective carrier signal, the value associated                   the combining of a phase for each carrier signal with
         with each carrier signal detennined by a pseudo-random                       the phase characteristic of that respective carrier
         number generator,                                             60             signal so as to substantially scramble the phase
      a phase shift for each carrier signal is at least based on:                     characteristics of the plurality of carrier signals,
         the value associated with that respective carrier signal,                    and
            and                                                                 multiple carrier signals corresponding to the plurality of
         the combining of a phase shift for each carrier signal                    phase shifted and scrambled carrier signals are used
            with the phase characteristic of that respective carrier 65            by the first transceiver to demodulate a same bit value
            signal so as to substantially scramble the phase char-                 of the received bit stream; and
            acteristics of the plurality of carrier signals, and                wherein:
Case 1:13-cv-01835-RGA Document 317-6 Filed 06/05/17 Page 12 of 12 PageID #: 9918


                                                   US 8,355,427 B2
                            13                                           14
       the first and second transceivers connnunicate over           * * * * *
          one or more ofa pair of twisted wires ofa telephone
          subscriber line, fiber optic and wireless, and
       the first and second transceivers are used for one or
          more applications.
